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 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         2:15-CR-00124-KJM

12                                Plaintiff,
                                                       PRELIMINARY ORDER OF FORFEITURE
13                         v.
                                                       Date:           April 19, 2017
14   EPATI MALAUULU,                                   Time:           9:00 a.m.
                                                       Judge:          Honorable Kimberly J. Mueller
15                 Defendant.                          Place:          Courtroom #3

16

17          Based upon the plea agreement and the unopposed forfeiture briefs filed by the government, and

18 for the reasons stated at bar, it is hereby ORDERED, ADJUDGED and DECREED:

19          1.     Pursuant to 21 U.S.C. § 853(a) and Fed. R. Crim. P. 32.2(a), defendant Epati Malauulu’s

20 interest in the following property is hereby condemned and forfeited to the United States, to be disposed

21 of according to law:

22                 a.      Approximately $26,000.00 in U.S. Currency
23          2.     The above-listed property constitutes property traceable to violations of 21 U.S.C.

24 §§ 841(a)(1) and 846.

25          3.     The defendant waives oral pronouncement of forfeiture at the time of sentencing

26 and any defects in such pronouncement that pertain to forfeiture, and waives any defenses to

27 forfeiture.

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                                                        1                         Preliminary Order of Forfeiture
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 1          4.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 2 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.

 3 Marshals Service, in its secure custody and control.

 4          5.      a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

 5 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 6 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 7 posted for at least 30 consecutive days on the official internet government forfeiture site

 8 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

 9 to any person known to have alleged an interest in the property that is the subject of the order of

10 forfeiture as a substitute for published notice as to those persons so notified.

11                  b.      This notice shall state that any person, other than the defendant, asserting a legal

12 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

13 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

14 within thirty (30) days from receipt of direct written notice, whichever is earlier.

15          6.      The United States is authorized to conduct appropriate discovery and to conduct any

16 necessary ancillary proceedings as provided by 21 U.S.C. § 853(n) as to the rights of third parties who

17 may have an interest in the property forfeited herein.

18          7.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

19 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will be

20 addressed.

21          SO ORDERED this 21st day of April, 2017.

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                                                               UNITED STATES DISTRICT JUDGE
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                                                           2                            Preliminary Order of Forfeiture
